      Case 1:08-cr-00056-RDB        Document 464       Filed 09/16/15     Page 1 of 48


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

PATRICK ALBERT BYERS, JR.,                     *

       Petitioner,                            *          Civil Action No. RDB-12-2348

       v.                                     *          Criminal Action No. RDB-08-56

UNITED STATES OF AMERICA,                      *

       Respondent.                             *

*       *       *       *       *       *          *      *        *       *       *       *

                              MEMORANDUM OPINION

       Petitioner Patrick Albert Byers, Jr. (“Petitioner” or “Byers”) was convicted by a jury

of numerous charges stemming from the murder of Carl Lackl (“Lackl”). Although he was

in state prison at the time of Lackl’s murder, the Government established at trial that Byers

arranged the murder using a contraband cell phone in order to prevent Lackl from testifying

against him in his state trial for the 2006 murder of Larry Haynes (“Haynes”). After the

United States Court of Appeals for the Fourth Circuit affirmed Petitioner’s conviction,

Petitioner filed pro se for post-conviction relief pursuant to 28 U.S.C. § 2255. Petitioner

claims that he received ineffective assistance of counsel in violation of his rights under the

Sixth Amendment to the United States Constitution, asserting that his attorneys failed to

investigate matters or raise issues as he had directed them. For the reasons stated below,

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 412) is DENIED.

In addition, Petitioner’s Motions for Extension of Time to File (ECF Nos. 436 & 437) are

GRANTED EX POST FACTO. Petitioner’s Motion to Appoint Counsel (ECF No. 437) is

DENIED. Accordingly, Byers’ Motions for Copy Work (ECF Nos. 442 & 447) are MOOT
      Case 1:08-cr-00056-RDB        Document 464       Filed 09/16/15    Page 2 of 48


with the exception that a copy of Petitioner’s docket sheet shall be mailed to the Warden of

his present place of confinement, so that access to the criminal docket sheet can be made

available to him in accordance with prison policy and procedures.         Byers’ Motion to

Withdraw (ECF No. 458) his prior Motion to Amend/Correct (ECF No. 453) is

GRANTED.        Byers’ Motion to Amend/Correct (ECF No. 453) is WITHDRAWN.

Consequently, the Government’s Motion to Dismiss (ECF No. 455) the now withdrawn

Motion to Amend/Correct (ECF No. 453) is MOOT. Finally, Petitioner’s Motion for

Deficient Service (ECF No. 460) is DENIED, Byers’ Motion Objecting to Trial Counsel’s

Disclosures (ECF No. 461) is also DENIED, and his Motion to Compel (ECF No. 462) is

MOOT.

                                     BACKGROUND

       Petitioner Patrick Albert Byers, Jr. (“Petitioner” or “Byers”) was convicted in this

Court on charges stemming from the murder of Carl Lackl (“Lackl”). See United States v.

Byers, 649 F.3d 197, 200 (4th Cir. 2011). At the time of Lackl’s murder, Petitioner was

charged in state court with murdering Larry Haynes (“Haynes”). Id. at 201. Lackl was an

important prosecution eyewitness in that case, expected to place Petitioner at the scene of

the Haynes murder. Id. At trial, the Government contended that Petitioner arranged Lackl’s

murder in order to prevent Lackl from testifying against Petitioner in that state proceeding.

Id. In an effort to discredit this alleged motive, Byers attacked Lackl’s credibility and the

strength of the state prosecutor’s case against him. Id. In response, the Government

detailed the strong evidence against Petitioner, including evidence that he had previously
      Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15   Page 3 of 48


shot a man named Carlile Coleman (“Coleman”) in the same neighborhood where Haynes

was murdered. Id. The facts established at trial are as follows:

I. The Coleman Shooting

       On May 24, 2004, Coleman and two assistants opened a temporary car wash in front

of a house located at 506 North Montford Avenue in Baltimore. Byers, 649 F.3d at 201.

That day, a man named “Pierre” accused Coleman or one of his assistants of taking drugs

out of Pierre’s car. Id. Coleman denied stealing the drugs and refused to pay for them. Id.

A scuffle ensued between the two men, and Pierre broke a broom over Coleman’s back. Id.

       Pierre left the scene, but returned later with another man. Id. They entered the

house at 506 North Montford Avenue, and the man accompanying Pierre shot Coleman in

the buttocks as he attempted to flee. Id. The same man then stood over Coleman saying

“I’m going to kill you.” Id. He proceeded to shoot Coleman in the stomach. Id. The two

men left the house, and Coleman was taken to a hospital, where he recovered. Id. When

police asked Coleman to identify his attacker from a photo array, Coleman selected Byers.

Id.

II. The Haynes Murder

       On March 4, 2006, Larry Haynes was shot and killed near the intersection of North

Montford Avenue and Jefferson Street in Baltimore City, Maryland, within one block of the

house where Coleman was shot. Id. Police recovered .40 caliber shell casings and a .40

caliber bullet nearby. Id. In addition, they recovered a .40 caliber semiautomatic handgun in

an adjacent alley on the 500 block of North Montford Avenue. Id.
       Case 1:08-cr-00056-RDB             Document 464          Filed 09/16/15       Page 4 of 48


        Detective Thomas Martin (“Detective Martin”), a Baltimore City Police officer

investigating the Haynes murder, interviewed Lackl shortly after the murder. Id. Lackl

acknowledged that he was in the area to purchase drugs. He explained that he and Connie

Mays (“Mays”) were driving along North Montford Avenue on the day of the shooting when

they stopped at the 500 block for Lackl to urinate. Id. As Lackl stepped into the alley, he

heard several gunshots. Id. at 202. He then saw a man running toward him in a northernly

direction along North Montford Avenue. Id. The man threw a gun onto the roof of a

garage in the alley across the street and made eye contact with Lackl as he continued running

north.1 Id. Lackl then looked up the street and saw Haynes, who had been shot eight times,

lying on the ground. Id. Although Lackl began to approach Haynes, Mays insisted that they

leave the scene because Mays had just purchased crack cocaine and did not want Police

attention. Id. Upon returning home, Lackl told his girlfriend, Malinda Humes (“Humes”),

that he wanted to report the shooting to police. Id. Humes advised Lackl not to get

involved, but Lackl proceeded to contact police headquarters. Id.

        Joseph Parham (“Parham”) was arrested on drug possession charges on the same day

as the Haynes murder. Id. According to Detective Martin, Parham claimed to have seen

Haynes on North Montford Avenue, arguing with a man he knew as “Pat.” Id. Parham

heard gunshots and then saw Pat shoot Haynes. Id. Parham lived in the neighborhood and

knew both men. Id. He told Detective Martin that Haynes dealt drugs and that Pat had

previously been involved in the shooting of a car wash guy on North Montford Avenue. Id.




1 A gun was recovered on the ground in the alley adjacent to North Montford Avenue, and Detective Martin

surmised that the gun had bounced off of the roof and landed on the ground. Byers, 649 F.3d at 202 n.1.
     Case 1:08-cr-00056-RDB        Document 464      Filed 09/16/15    Page 5 of 48


      After obtaining this information from Parham, Detective Martin retrieved the police

file on the 2004 Coleman shooting. Id. He learned that Byers had been arrested for

shooting Coleman, and placed his photo in a photo array. Id. When shown the photo array,

Parham identified Byers as the shooter and Lackl identified him as the man who had thrown

the gun on the garage roof. Id. Subsequently, Detective Martin arrested Byers for the

murder of Haynes, and he was charged with first degree murder. Id. at 203. Petitioner

admitted that he and his associates were involved in the sale of heroin in the North

Montford area and that he had been in the area around the time of the shooting. Id.

Petitioner also acknowledged that he knew Haynes and that Haynes was believed to have

recently killed Petitioner’s cousins. Id. However, he denied that there were any problems

between him and Haynes. Id. Petitioner also stated that he had hidden a gun near a garage

on North Montford Avenue, but that he planned to turn it over to an “Officer Kevin” in

exchange for having drug charges against him dropped. Id.

      As Petitioner’s trial for the Haynes murder neared, Parham refused to cooperate with

prosecutors and recanted his identification of Petitioner. Id. By April of 2007, Lackl

remained the only cooperating eyewitness to the Haynes murder. Id.

III. The Lackl Murder

      On July 2, 2007, with the Haynes murder trial scheduled in the Circuit Court for

Baltimore City to begin in just a matter of days, Lackl was murdered in front of his

Baltimore County home. Id. Although Petitioner was in state custody at the time, police

traced phone calls made to Lackl’s residence just minutes before the murder to a cell phone

owned by Marcus Pearson (“Pearson”), a member of the “Bloods” street gang. Id. After
      Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15     Page 6 of 48


agreeing to cooperate with investigators, Pearson revealed that a man named Frank

Goodman (“Goodman”) had offered Pearson $2,500 to kill Lackl for Petitioner.                 Id.

Pearson agreed to “take care of it,” and called a contraband cell phone that Byers had in jail

(“jail cell phone”) to verify the $2,500 offer. Id. According to Pearson, Goodman then gave

him Lackl’s home address and phone number. Id. Documents seized in Byers’ jail cell

contained the same address. Id. Goodman told Pearson that Lackl was selling a used

Cadillac. Id.

       After speaking with Byers and Goodman, Pearson recruited Jonathan Cornish

(“Cornish”) to be his triggerman. Id. As a “baby gangsta,” or young member of the Bloods,

Cornish was ordered to perform the murder for free for Pearson. Id. Pearson supplied

Cornish with a handgun, and directed Cornish to follow him in a car with Michael Randle

(“Randle”), another member of the Bloods. Id. Pearson rode in the lead car with his

girlfriend Tammy Graham (“Graham”), who was unaware of the scheme to kill Lackl. Id.

Pearson told Graham that he wanted to look at a car for sale on Philadelphia Road. Id. On

the way, Pearson called Lackl to tell him that he was interested in looking at the Cadillac and

that Lackl should wait for him outside. Id. at 204. Although he had intened to use a prepaid

“burner” phone, Pearson accidentally used his personal phone to make this call. Id.

       Pearson and Graham drove by Lackl’s house. Id. Cornish and Randle drove past the

house once, then returned and came to a stop where Lackl was waiting.               Id.   Lackl

approached the car’s front passenger window, at which time Cornish shot him three times.

Id. Moments later, Cornish called Pearson to report that the job was complete. Id. Pearson

called Petitioner to report that Lackl was dead and then disposed of the burner phone. Id.
       Case 1:08-cr-00056-RDB             Document 464           Filed 09/16/15       Page 7 of 48


        Soon thereafter, Pearson contacted Goodman’s cell phone in order to set up a time

and place to collect the Lackl bounty. Id.            Pearson met with Goodman, collected $2,200

($300 less than was promised), and paid Cornish and Randle $100 each. Id.

        Pearson’s account was corroborated by the testimony of both Graham and Cornish

at trial. 2 Id. The phone that Petitioner used to communicate with Pearson was not

recovered, but Pearson identified the number of the jail cell phone. Id. Phone records

revealed frequent calls from that number to members of Petitioner’s family and his

girlfriends as well as calls beween the cell phones of Pearson, Goodman, Cornish, and the

jail cell phone on the day of the murder.3 Id. These July 2, 2007 calls included twelve direct

connect calls between Goodman and Petitioner, calls between Pearson and Petitioner, and

calls between Pearson and Goodman moments before and after the shooting. Id.

IV. Petitioner’s Trial

        Byers was originally charged with multiple counts related to the murder of Carl Lackl.

Id. at 205. On August 5, 2008, a federal grand jury returned a superseding indictment

pursuant to which the Government sought the death penalty against Byers. Superseding

Indictment, ECF No. 95. In Count I of the Superseding Indictment, Petitioner was charged

with conspiring to use communication facilities in interstate commerce with the intent to

commit the murder-for-hire of Lackl in violation of 18 U.S.C. § 1958 (a). Id. Count II

charged him with a substantive count of murder-for-hire, in violation of 18 U.S.C. § 1958


2 Graham testified that Cornish and another individual followed her and Pearson to Philadelphia Road, that

Pearson called Lackl on the way, that they did not stop, and that the other car made a U-turn back to Lackl’s
house. Byers, 649 F.3d at 204. She further testified that Pearson met with Goodman on the way home from
Philadelphia Road. Id. Cornish confirmed this timeline and admitted to pulling the trigger, killing Lackl. Id.
3 Officers recovered the jail cell phone that Goodman used to communicate with Petitioner after he was

arrested on September 5, 2007. Byers, 649 F.3d at 204-05. Goodman was questioned about the murder by
police, but he maintained his innocence. Id. at 205.
      Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15     Page 8 of 48


(a). Id. In Count III, Petitioner was charged with conspiracy to obstruct justice by the

murder of Lackl, in violation of 18 U.S.C. § 1512 (a)(1)(C). Id. In Count IV, Petitioner was

charged with a substantive count of obstruction of justice. Id. Counts V and VI charged

Petitioner with violations of 18 U.S.C.§ 924(c) and (j) (use of a firearm during and in relation

to the crimes of violence charged in Counts I-IV). Id. In Count VII, Petitioner was charged

with conspiracy to violate Section 924(c). Id. In Count VIII, Petitioner was charged with

being a felon in possession of a firearm on March 4, 2006, the day of the Haynes murder. Id.

       At trial, the government presented evidence showing that Byers arranged to have

Lackl murdered and that he did so in order to prevent Lackl from testifying against him at

the Haynes murder trial. Byers, 649 F.3d at 205. Petitioner challenged this alleged motive by

attacking the reliability of Lackl’s identification and the strength of the prosecution’s case.

Id.   Petitioner highlighted Lackl’s habitual drug use at the time of the shooting.          Id.

Petitioner also established that the DNA of Quinten Hogan (“Hogan”), another gang

member who lived in the area of the Haynes murder, was found inside the gun recovered in

the alley. Id. Additionally, Petitioner questioned Detective Martin about his alleged failure

to interview witnesses who were in a corner store near the site of the Haynes murder. Id.

       To counter the Petitioner’s defense, the Government introduced evidence of the

2004 shooting of Carlile Coleman under Rule 404(b) of the Federal Rules of Evidence. Id.

The Government established that Coleman survived the shooting and identified Byers from

a photo array as the person who shot him. Id. Additionally, the Government established

that Petitioner was a drug dealer in the area where Coleman and Haynes were shot and

suggested that the shootings were motivated by Petitioner’s desire to protect his “turf.” Id.
      Case 1:08-cr-00056-RDB             Document 464          Filed 09/16/15        Page 9 of 48


During trial, Baltimore City Police Detective Wayne Jenkins (“Detective Jenkins”) testified

that he believed Petitioner ran a drug shop in the area where Haynes was murdered and that

he had routinely seen Petitioner hanging around talking to drug dealers “all day long.” Id.

        Petitioner was convicted of seven counts pertaining to the Lackl murder (Counts I-

VII) and one firearm charge pertaining to the 2006 Haynes murder (Count VIII). Id. at 206.

Petitioner was acquitted of the charge of possession of a firearm in furtherance of a drug

trafficking crime during the 2006 Haynes shooting. Id. at 206 n.4.

V. Petitioner’s Sentencing and Post-Trial Developments

        Ultimately, this Court sentenced Byers to concurrent life sentences for Counts I and

II. See Order J., ECF No. 340. With respect to Counts III and IV, Petitioner received

concurrent life sentences that would run consecutively to the life sentences imposed under

Counts I and II. Id. Additionally, Petitioner received a life sentence consecutive to Counts I-

IV with respect to Count VI, and another life sentence for Count V that was consecutive to

Counts I, II, III, IV, and VI. Id. For Count VII, Petitioner received a twenty-year sentence

to run concurrent with Count V. Id. Finally, Petitioner received a ten-year sentence for

Count VIII that was concurrent to Counts V and VII. Id.

        The United States Court of Appeals for the Fourth Circuit affirmed Petitioner’s

convictions on May 6, 2011.4 See Byers, 649 F.3d at 217. Following the Fourth Circuit’s

ruling, Petitioner filed the currently pending Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255 (ECF No. 412). Subsequently, by motion, Petitioner

sought the opportunity to file “the most comprehensive” § 2255.                   Mot. for Extension to


4 Petitioner’s appeal was consolidated with that of his co-Defendant, Goodman.   The Fourth Circuit affirmed
Goodman’s conviction as well.
      Case 1:08-cr-00056-RDB             Document 464         Filed 09/16/15       Page 10 of 48


File Comprehensive 2255, ECF No. 413. This Court granted that Motion (ECF No. 414).

Petitioner then filed a supplement to his Motion to Vacate (ECF No. 424). In those papers,

Petitioner asserted various arguments concerning alleged ineffective assistance of counsel,

mostly relating to his attorneys’ investigation of his case and their decisions to interview

and/or call various witnesses. The Government responded (ECF No. 432). 5

        Additionally, Petitioner filed a Motion to Appoint Counsel (ECF No. 437) and a

reply brief (ECF No. 451). Petitioner then filed a Motion for Leave to Amend/Correct his

Motion to Vacate (ECF No. 453), which he promtply withdrew.6 See Pet’r’s Mot. Withdraw

Pleading, ECF No. 458. Next, the Government requested an Order allowing Petitioner’s

attorneys to disclose privileged information in response to Petitioner’s allegations of

ineffective assistance of counsel. See Govt.’s Mot. Allow Disclosure, ECF No. 456. This

Court granted the Government’s Motion, and required a responsive affidavit from one of

Petitioner’s trial counsel. See Order, ECF No. 457.




5 In separate motions (ECF Nos. 436 & 437), Petitioner sought extensions of time to file his reply. To the
extent those motions sought extensions (the Court notes that ECF No. 437 also constituted Petitioner’s
Motion to Appoint Counsel), those motions are GRANTED EX POST FACTO as they were considered in
disposing of the instant Motion. Before filing his reply, Petitioner also filed two motions for copy work.
Those Motions (ECF Nos. 442 & 447) will be DENIED as MOOT, but this Court will instruct the Clerk to
include an updated copy of the docket sheet along with the copy of this opinion.
6 As Petitioner’s Motion to Withdraw (ECF No. 458) remains pending on the docket, this Court notes that

Petitioner’s Motion is GRANTED and his Motion for Leave to Amend/Correct (ECF No. 453) will be
deemed to have been WITHDRAWN. Therefore, the Government’s Motion to Dismiss Second or
Successive Petition (ECF No. 455) is MOOT.
      Case 1:08-cr-00056-RDB               Document 464            Filed 09/16/15        Page 11 of 48


        In response, Petitioner filed a Motion for Deficient Service (ECF No. 460)7 and a

Motion Objecting to Trial Counsel’s Disclosures (ECF No. 461).8 Subsequently, Petitioner

filed a “Motion to Compel the Government to Produce Any Document, or Affidavits from

Either of the Trial Attorneys that It Is Seeking Such From” (ECF No. 462).                                    The

Government then filed a Supplemental Response, along with the affidavit of Petitioner’s trial

counsel (ECF No. 463).9

                                      STANDARD OF REVIEW

        Documents filed pro se are “liberally construed” and are “held to less stringent

standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94

(2007)(citation omitted). In order to establish a claim for ineffective assistance of counsel,

Petitioner must prove both elements of the test set forth by the Supreme Court in Strickland

v. Washinton, 466 U.S. 668, 671 (1984). First, Petitioner must show that his counsel’s

performance was so deficient as to fall below an “objective standard of reasonableness.” Id.



7 In his Motion for Deficient Service (ECF No. 460), Petitioner alleges that the Government did not serve

him with a copy of its Motion to Allow Disclosures from Petitioner’s trial counsel. However, page 5 of that
Motion to Allow Disclosures includes a Certificate of Service indicating that a copy of the Motion was mailed
to Petitioner’s prison address, in accordance with Local Rule 102.1.(c). Additionally, because this Court’s
two-page Order granting the Government’s Motion to Allow Disclosures is numbered pages 6-7, Petitioner
alleges that the court failed to serve him with all pages of that Order. However, this was a typographical
mistake, and Petitioner did in fact receive all (two) pages of the order. For these reasons, Petitioner’s Motion
for Deficient Service (ECF No. 460) is DENIED.
8 In his Motion Objecting to his Trial Counsel’s Disclosures to the Government (ECF No. 461), Petitioner

alleges that this Court has not exercised sufficient supervision over the disclosures ordered by this Court.
However, this Court’s Order, dated December 23, 2014, allows disclosures by Petitioner’s trial counsel only
as necessary “to prove or disprove the claims and allegations of ineffective assistance of counsel.” The Order
also states that it is “no broader than needed to ensure the fairness of the proceedings before this Court.”
This court finds that these restrictions are sufficient to protect Petitioner’s interests. Additionally, this Court
finds that the affidavit submitted by Petitioner’s trial counsel William B. Purpura in response to the Order is
no broader than necessary and does not unduly prejudice Petitioner’s interests. Therefore, Petitioner’s
Motion Objecting to Disclosures (ECF No. 461) is DENIED.
9 Given that the Government has now served Petitioner with a copy of his trial attorney’s affidavit in its

Supplemental Response on May 29, 2015 (ECF No. 463), the Petitioner’s Motion to Compel (ECF No. 462)
will be DENIED as MOOT.
     Case 1:08-cr-00056-RDB            Document 464         Filed 09/16/15   Page 12 of 48


at 688. In assessing whether counsel’s performance was unconstitutionally deficient, courts

adopt a “strong presumption” that counsel’s actions fall within the “wide range of

reasonable professional assistance.” Id. at 689. Second, Petitioner must show that his

counsel’s performance was so prejudicial as to “deprive the defendant of a fair trial.” Id. at

687. In order to establish this level of prejudice, Petitioner must demonstrate that there is a

“reasonable probability that, but for counsel’s [alleged] unprofessional errors, the result of

the proceeding would have been different.” Id. at 694. Satisfying either of the two parts of

the test alone is not sufficient. Rather, the Petitioner must meet both prongs of the

Strickland test in order to be entitled to relief. See id. at 687.

                                            ANALYSIS

       In his Motion to Vacate pursuant to 28 U.S.C. § 2255, the Petitioner alleges that he

receieved ineffective assistance of counsel in violation of his Sixth Amendment rights in

eight specific ways. See Mot. To Vacate, ECF Nos. 412 & 424. First, Petitioner claims that

his trial counsel failed to call any of five witnesses, identified by Petitioner, who would have

testified that Petitioner did not own the phone allegedly used to order Lackl’s murder, that

many inmates had access to the phone, and that Pearson, a key Government witness, had a

motive to falsely incriminate Petitioner. Id. Second, Petitioner claims that counsel failed to

obtain television news footage that would have “word for word” matched Pearson’s

testimony, suggesting that Pearson did not testify from personal experience. Id. Third,

Petitioner alleges that counsel failed to obtain phone records that would have shown

Petitioner did not illicitly circumvent the prison’s secure telephone system. Id. Fourth,

Petitioner claims that his counsel failed to obtain phone records or call any of eleven
     Case 1:08-cr-00056-RDB           Document 464       Filed 09/16/15      Page 13 of 48


witnesses, identified by Petitioner, to impeach the testimony of Detective Jenkins, a key

Government witness, and purportedly show that Petitioner did not murder Haynes. Id.

Fifth, Petitioner claims that counsel failed to call any of five witnesses, identified by

Petitioner, who would have testified that Petitioner did not shoot Coleman. Id. Sixth,

Petitioner claims that counsel failed to communicate with him during the appellate process,

failed to raise an inneffective assistance of counsel argument on appeal, and failed to

challenge the legality of a police search of Petitioner’s jail cell. Id. Seventh, Petitioner claims

that counsel failed to contact any of six witnesses, identified by Petitioner, who admitted to

falsely testifying against Petitioner in court due to police coercion. Id. Eighth, Petitioner

alleges that counsel failed to raise the issue of racial bias either at trial or on appeal, despite

Petitioner’s instructions to do so. Id.

I. Strickland as Applied to Claims of Failure to Investigate or Follow Instructions

       Byers’ allegations primarily relate to his counsel’s thoroughness in investigating his

case and adherence to his instructions. With respect to pretrial investigations, a criminal

defense attorney has a duty to conduct an investigation that is reasonable under prevailing

norms. United States v. Roane, 378 F.3d 382, 410 (4th Cir. 2004). As explained by the United

States Supreme Court in Strickland:

               [S]trategic choices made after thorough investigation of law and
               facts relevant to plausible options are virtually unchallengeable;
               and strategic choices made after less than complete investigation
               are reasonable precisely to the extent that reasonable
               professional judgments support the limitations on investigation.
               In other words, counsel has a duty to make reasonable
               investigations or to make a reasonable decision that makes
               particular investigations unnecessary. In any ineffectiveness
               case, a particular decision not to investigate must be directly
     Case 1:08-cr-00056-RDB          Document 464       Filed 09/16/15     Page 14 of 48


              assessed for reasonableness in all the circumstances, applying a
              heavy measure of deference to counsel’s judgments.

Strickland, 475 U.S. at 690–91.

       With respect to following a client’s instructions, there is also applicable authority.

Under current law, criminal defendants have the right to make certain “personal” or

“fundamental” decisions; “[a]s to those limited issues—pleading guilty, waiving a jury, taking

the stand, and appealing a conviction or sentence—‘an attorney must both consult with the

defendant and obtain consent to the recommended course of action.’”              United States v.

Chapman, 593 F.3d 365, 369 (4th Cir. 2010) (quoting Florida v. Nixon, 543 U.S. 175, 187

(2004)). With respect to tactical decisions, however, there is no such absolute requirement.

The decision regarding which witnesses to call falls squarely into this category because it “is a

classic tactical decision left to counsel . . . even when the client disagrees.” Chapman, 593

F.3d at 369 (internal citations omitted); see also Sexton v. French, 163 F.3d 874, 885 (4th Cir.

1998) (“Decisions that may be made without the defendant’s consent primarily involve trial

strategy and tactics, such as what evidence should be introduced, what stipulations should be

made, what objections should be raised, and what pre-trial motions should be filed.”

(internal quotation marks omitted)). When a criminal defendant seeks post-conviction relief

based upon an alleged error with respect to such a tactical decision, “[t]he reasonableness of

[that] decision actually made by counsel is of course subject to challenge, but the decision is

not unreasonable simply because the client expressed a contrary view.” Chapman, 593 F.3d

at 369; see also Strickland v. Washington, 466 U.S. 668, 689 (1984) (“[T]he defendant must

overcome the presumption that, under the circumstances, the challenged action might be

considered sound trial strategy”).
      Case 1:08-cr-00056-RDB              Document 464          Filed 09/16/15        Page 15 of 48


        As a preliminary matter, this Court points out that Petitioner addressed the issue of

calling of witnesses and his counsel’s performance on the record at trial. Petitioner indicated

that his lawyers had done all that he asked of them and had called all of the witnesses that he

wanted to have testify on his behalf.10 See Apr. 14, 2009 Tr. at 305:2-19. In light of these

statements, Petitioner’s claims certainly appear circumspect at best.

II. Assessing Prejudice in the Context of Petitioner’s Case

        Petitioner must show “a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different,” meaning “a probability

sufficient to undermine confidence in the outcome.”                   Strickland, 466 U.S. at 694.            In

assessing the prejudice arising from evidence or testimony that was not offered at trial, that

evidence must be compared to the overall strength of the government’s case and to the

defense that was actually presented to the jury. Cf. United States v. Roane, 378 F.3d 382, 405

(4th Cir. 2004) (noting that evidence alleged to have been available through a more extensive

investigation would not have “undermined the overwhelming evidence before the jury” of

the defendants’ guilt, meaning that defendants had not been prejudiced by their counsel’s

alleged error).

        “In assessing prejudice, we reweigh the evidence in aggravation against the totality of

available mitigating evidence.” Wiggins v. Smith, 539 U.S. 510, 534 (2003). Accordingly,

before addressing Petitioner’s specific claims, this Court will now provide a brief summary

of the evidence presented by the Government as to Petitioner’s guilt as well as the case

presented by Petitioner’s counsel.

10 Petitioner did note that Mr. Robert Little had not been called, but he acknowledged that his counsel had

attempted to locate Mr. Little and had been unable to do so. The issue with respect to Mr. Little is addressed
more fully infra.
      Case 1:08-cr-00056-RDB             Document 464           Filed 09/16/15       Page 16 of 48


III. The Government’s Case

            A. Pearson, Cornish, Graham, and the Phone Records

        Lackl was murdered on July 2, 2007 in front of his house. As established by

detectives’ testimony at trial, the police investigators quickly learned that Lackl was

scheduled to be a witness in a murder trial and discovered that the Lackl home had received

calls from two unknown numbers on the day of the murder. Using telephone records, the

police were able to trace one of those numbers to Pearson.11 After locating Pearson,

detectives conducted several recorded interviews with him. He initially denied any

involvement with the shooting, and deflected attention to Cornish, the triggerman.

Eventually, Pearson agreed to cooperate, and he admitted that he had been hired by

Goodman to kill Lackl on Byers’ behalf in exchange for $2,500. Pearson’s cell phone

directory included the cell phone numbers for Cornish, Goodman, and the jail cell phone

used by Byers, and the documentary evidence submitted at trial showed a number of calls to

those individuals. Specifically, the records reveal that phone contacts between Pearson and

Goodman began on June 28, 2007 and ended just after the murder. Calls between Pearson

and Byers’ jail cell phone occurred only on the day of the murder (both before and after).

Additionally, Pearson contacted Goodman throughout the day on July 2.

        Cornish also cooperated, and his testimony at trial corroborated Pearson’s accounts.

Cornish testified at trial that he had been asked to kill a witness and that he had been told

the man was white and selling a car. Mar. 24, 2009 Tr. 97-131. Cornish testified that he

called Pearson shortly after the murder to report that the job was complete, and his

testimony was corroborated by the phone records.

11 Pearson had mistakenly used his personal cell phone to make one of the calls to Lackl’s home.
     Case 1:08-cr-00056-RDB       Document 464       Filed 09/16/15    Page 17 of 48


      The accounts of Pearson and Cornish were corroborated by the testimony of Tammy

Graham, Pearson’s girlfriend. Graham testified that she drove Pearson to a meeting with

Goodman soon after the murder and that, after that meeting, Pearson had noticeably more

money. Mar. 25, 2009 Tr. at 244-46.

          B. Detective Ruby’s Interview of Goodman

      After Goodman was arrested, he made several statements to Detective Ruby.

Goodman denied even knowing Byers and denied that he had any contact with Pearson on

the day of the murder. Goodman also stated that he had been at work on July 2. These

statements were ultimately proven false. Evidence indicated that Goodman visited Byers at

the jail, and phone records reveal multiple contacts between Goodman and Pearson on the

day of the murder.

          C. The Investigation into Petitioner’s Involvement in the Lackl Murder

      Byers’ jail cell was searched pursuant to a state search warrant on July 12, 2007—just

a few days after the murder of Carl Lackl. The search uncovered documents that had Lackl’s

name and address written on them as well as Goodman’s cell phone number. When

Petitioner was interviewed by Detective Ruby in early September, he denied ever seeing the

materials recovered from his cell. Byers also denied using a cell phone in jail and denied

knowing either Goodman or Pearson. Petitioner attributed Goodman’s phone number to a

Frank Robinson.

          D. Evidence Linking Petitioner to the Haynes Murder

      After being arrested for an unrelated drug charge on the evening of the murder of

Larry Haynes, Joseph Parham identified Byers (whom Parham knew and identified as “Pat”)
     Case 1:08-cr-00056-RDB           Document 464         Filed 09/16/15      Page 18 of 48


as the man who shot Haynes during a tape-recorded photo array identification. Apr. 2, 2009

Tr. at 225-26, 233-36, 256-67. This identification matched the identification made by Lackl,

who was also shown a photo array on March 4, 2007 (the day of the Haynes murder). Apr.

2, 2009 Tr. at 16-24, 29-36. Parham also noted that the same individual had been involved

in an earlier 2004 shooting involving Coleman. Apr. 2, 2009 Tr. at 225-26, 233-36, 256-67.

When interviewed regarding the Haynes murder, Byers stated that he had left the area before

the murder and claimed to be at a car wash at the time of the murder. Apr. 2, 2009 Tr. at 46.

He claimed to have learned of the murder shortly after it happened when “Greg” called him.

However, Byers did not identifiy Greg’s last name or phone number. Apr. 2, 2009 Tr. at 46-

48. Detective Martin testified that he learned Byers’ two cousins were killed just four days

before the Haynes murder, and Byers told Detective Martin that he believed Haynes had

killed his cousins. Apr. 2, 2009 Tr. at 51, 68. Petitioner also told Detective Martin that he

had hidden a gun near the garage on Montford for an “Officer Kevin,” but that it had been

gone when he went back to check for it. Apr. 2, 2009 Tr. at 52.

           E. Evidence Tying Petitioner to the Jail Cell Phone

       The Government introduced a staggering number of phone records to demonstrate

Petitioner’s use of the jail cell phone. The phone records reflected thousands of calls, many

directed to Petitioner’s family or girlfriends. Several of these individuals, including Patrick

Albert Byers, Sr., Petitioner’s father, were subpoenaed by the Government and testified at

trial as to their contacts with Petitioner while he was in jail. See, e.g., April 2, 2009 Tr. at 1-8.

The records reflected contacts between the jail cell phone and Edna Booze (Petitioner’s

grandmother) and Tiurra Pollard (a girlfriend) on the day of the Lackl murder. Apr. 1, 2009
      Case 1:08-cr-00056-RDB              Document 464          Filed 09/16/15        Page 19 of 48


Tr. at 71-95. The records also revealed contacts between the jail cell phone and Dayna

Wilkerson (a girlfriend) and Ivan Bates (Petitioner’s counsel in his state murder case for the

murder of Haynes). Records also reflected contacts between both jail cell phones (the one

used to contact Pearson that was never recovered and the second phone linked to calls to

Parham) and Ebony Green, another girlfriend. Apr. 1, 2009 Tr. at 10. Records revealed that

Petitioner changed the number of the jail cell phone on July 8 (just days after the Lackl

murder) and again in September 2007.

            F. Evidence Relating to Parham’s Recantation

        After Parham’s initial identification of Byers as the Haynes shooter, he affirmed his

identification in November of 2008 and indicated that he would be willing to testify. On

March 5, 2009, however, Parham indicated that he was no longer willing to testify and

recanted his identification. On March 17, 2009, investigators discovered another contraband

cell phone in Byers’ bed at the Chesapeake Detention Facility. Phone records reflected a

number of calls from the second cell phone to Parham’s home and cell phone between

February 21 and March 13, 2009. Parham testified at trial on behalf of the Government. See

Apr. 8, 2009 Tr. at 150-58. He affirmed his recantation of his initial identification. He also

acknowledged that he had spoken to Byers on the phone.

IV. The Defense’s Case

            A. Cross-Examination of Marcus Pearson

        Due to the numerous statements and explanations provided by Pearson to

investigators,12 defense counsel undertook a lengthy cross-examination of Pearson at trial.

The full extent of the topics covered by Petitioner’s counsel are too lengthy to fully recite

12 Specifically, Pearson provided six recorded statements to investigators in the summer of 2007.
     Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15       Page 20 of 48


here, but they included a potential dispute between Pearson and Byers over a woman and a

recorded statement by Pearson suggesting that he wanted Petitioner to remain in jail.

          B. Evidence that Lackl Was an Unreliable Witness

       Petitioner’s counsel also attempted to characterize Lackl’s identification as unreliable.

In particular, counsel repeatedly offered evidence that characterized Lackl as an unreliable

drug addict. Detective Martin acknowledged that Lackl had a heroin problem. Apr. 6, 2009

Tr. at 170. Additionally, Lackl only made eye contact with the shooter for “a second”

according to Detective Martin’s recount of Lackl’s statement. Id. at 151.

          C. Attacks on the Haynes Murder Investigation

       Defense counsel also attacked the quality of the investigation into the Haynes

murder. Primarily through the cross-examination of Detective Martin, counsel was able to

illustrate that Lackl’s account of the murder was inconsistent with those of other

eyewitnesses in several respects. In particular, Ms. Cheryl Rookstool, who had seen the

shooter, did not identify Byers as the shooter. Another witness suggested that the shooter

had run in a different direction than Lackl claimed. Defense counsel also used video footage

from the nearby corner store and the outdoor police camera to suggest that Byers was not

the shooter.

       The cross-examination of Detective Martin revealed several other facts.              First,

investigators discovered the DNA of Quinten Hogan on the magazine of the Haynes

murder weapon in July 2008. Second, trial counsel demonstrated that Detective Martin was

distracted throughout the investigation, due to a heavy case load. Apr. 6, 2009 Tr. at 96-97.

Detective Martin failed to record the March 20, 2006 interview with Byers (meaning that
     Case 1:08-cr-00056-RDB          Document 464       Filed 09/16/15     Page 21 of 48


Detective Martin’s memory served as the only record of that conversation), id. at 98, and also

failed to follow up with several witnesses, id. at 203-09; Apr. 7, 2009 Tr. at 46-47. Detective

Martin also testified that Petitioner was eager to talk and cooperative, and that Petitioner

lived nearby—thereby establishing an innocent reason for him to have been in the

neighborhood. Apr. 6, 2009 Tr. at 101-03. Detective Martin testified that it was not

uncommon for officers to trade guns for charges (as did Detective Jenkins). Additionally,

Detective Martin testified that Haynes had a long record and had many enemies. Counsel

also suggested that Haynes had a gang affiliation and demonstrated that Hogan, whose DNA

was found on the gun, lived nearby and had possible gang affiliation. Apr. 7, 2009 Tr. at 61.

           D. Testimony of Cheryl Rookstool

       Counsel also elicited the testimony of Cheryl Rookstool. See Apr. 13, 2009 Tr. at 7.

Rookstool was standing inside a nearby cornerstore at the time Haynes was murdered. Soon

after the murder she provided investigators with a description of the shooter, yet police

investigators never showed her a photo array. See id. at 16:20-22.       On cross-examination,

Petitioner’s counsel established that Ms. Rookstool was able to see the shooter’s face clearly

and that she knew Petitioner from being around the neighborhood. Id. at 24:1-6, 26:23-24.

Rookstool specifically testified that Byers was not the shooter. Id. at 28:4-5.

           E. Testimony of Darrell Briggs

       Defense counsel called Darrell Briggs. Briggs testified that Hogan was a drug dealer

in the Montford and Jefferson neighborhoods. Apr. 13, 2009 Tr. at 226-35. Briggs also

identified Hogan as “putting up” a “gang member sign.” Id. at 235:7-10.
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 22 of 48


            F. Alibi for the Coleman Shooting

        Defense counsel called Vonda Cole, a relative of Petitioner, who testified that

Petitioner was at the North Avenue Maryland District Courthouse just before the Coleman

shooting. This testimony was corroborated by court records.

V. Assessment of Petitioner’s Claims

        A. Issue One – Records Relating to the Jail Cell Phone

        Byers alleges that his trial counsel provided ineffective assistance by failing to follow

his instruction to investigate and acquire text messages and other records relating to the jail

cell phone. Specifically, Petitioner contends that his trial counsel failed to secure text

message records from June 2007 to July 2007 for the jail cell phone that “would have proven

Pearson lied against the Defendant.” Pet’r’s Am. Mot. Vacate at 5, ECF No. 424. According

to Petitioner, his attorney informed him that the records were not available and could not be

obtained. Petitioner attaches several pages of phone records as exhibits to his motion. In

his Memorandum in Support of his Motion to Vacate, Petitioner further argues that the

phone records “prove the jail [cell] phone expert lied in the trial testimony against

Petitioner” and would have allowed for impeachment of the expert.13 Pet’r’s Mem. Supp.

Am. Mot. Vacate at 2, ECF No. 424-2.

        Petitioner’s assertions with respect to the first issue are rather jumbled, but this Court

will attempt to address each in turn. Petitioner has failed to establish any basis for relief with

respect to text message content. Detective Charles Gruss (the Government’s witness with


13 Petitioner also suggests that the records prove “that the phone evidence in this case was not showing [sic]

Petitioner circumventing the phone security as the prosecution led the jury to believe.” Pet’r’s Mem. Supp.
Am. Mot. Vacate at 2, ECF No. 424-2. As Petitioner’s third issue deals directly with this issue, the Court
defers discussion of this point until that section of this opinon.
      Case 1:08-cr-00056-RDB               Document 464           Filed 09/16/15        Page 23 of 48


respect to the phone records in this case) testified that there was no indication that the jail

cell phone had a text feature and that, even if the phone had such a feature, that the content

of any such messages would not have been available in light of the several month gap

between the Lackl murder and Petitioner’s arrest.14 Despite Petitioner’s bald assertions, this

testimony remains unrefuted.             Therefore, as trial counsel began his representation of

Petitioner well after that time had elapsed,15 there is no basis for a claim of error on his

failure to obtain such records.

        Furthermore, the records that Petitioner has submitted with his memorandum appear

to have little relevance to his claims regarding the jail cell phone. The records do not appear

to be cell phone records and do not make any reference to text messages. Moreover, the

vast majority of the records appear to be from periods outside the timeframe stated in

Petitioner’s motion. Petitioner never explains how these records “prove the jail [cell] phone

expert lied in the trial testimony against Petitioner” or would have allowed for impeachment

of the expert, and this Court cannot fathom how they could possibly do so. Accordingly,

Byers has failed to demonstrate any deficient performance with respect to the jail cell phone.

        Additionally, Petitioner contends that several witnesses, if called, would have

established that the jail cell phone was not his. Petitioner asserts that his trial counsel

provided ineffective assistance by not contacting these individuals to call them as witnesses.

This Court now addresses each of these individuals in turn:




14 Specifically, Lackl was murdered on July 2, 2007, while Petitioner was not arrested until September of 2007.
15 Specifically, Petitioner was not arrested for the July 2, 2007 murder of Lackl until early September of 2007.

His court-appointed federal trial counsel was not appointed until February 15, 2008.
      Case 1:08-cr-00056-RDB               Document 464          Filed 09/16/15         Page 24 of 48


             a. Jason Torbit

        Petitioner contends that Torbit would testify that a number of inmates in the

Baltimore City Detention Center had access to the jail cell phone. Petitioner further asserts

that Torbit would testify that federal agents attempted “to coerce false testimony out of

potential witnesses in exchange for Torbit’s state gun charge being ‘ignored’ by the Feds.”

Mem. Supp. Am. Mot. Vacate at 3. According to Petitioner, Torbit attempted to contact

Petitioner’s trial counsel repeatedly but his calls were ignored. Id.

        Petitioner’s bald assertions regarding Torbit’s supposed testimony are unavailing.

Even if trial counsel erred in not calling Torbit, there was no prejudice to Petitioner’s

defense. Torbit’s testimony would not have negated strong evidence contained in the jail

cell phone records, which reflected hundreds of calls made on the jail cell phone to

Petitioner’s family and close associates. Indeed, several individuals admitted to talking to

Petitioner on the jail cell phone during their testimony at trial. Accordingly, there was no

prejudice to Petitioner resulting from Torbit not being called to testify.16

             b. Malcolm Stewart

        Petitioner asserts that Malcolm Stewart would “corroborate the testimony of Torbit”

and testify that the jail cell phone “was not Petitioner’s, but was his.” Mem. Supp. Am. Mot.

Vacate at 3.       Petitioner provides no factual details to support Mr. Stewart’s alleged

ownership of the jail cell phone. Additionally, regardless of the precise ownership of the jail

cell phone, the issue of import was Petitioner’s use of the cell phone. The mere fact that

another individual might have “owned” the jail cell phone does not negate the overwhelming

16
  In fact, the jail cell phone records showed over one hundred calls to Torbit’s phone. Thus, had trial
counsel called Torbit, he would have likely provided yet another link between Petitioner and the jail cell
phone.
      Case 1:08-cr-00056-RDB             Document 464          Filed 09/16/15       Page 25 of 48


evidence that Petitioner used the jail cell phone to order the murder of Lackl. The proffered

“testimony” of Stewart does nothing to refute or explain the hundreds of calls to Petitioner’s

friends and family, nor does it serve to explain the numerous calls to Pearson or Goodman.

Accordingly, regardless of whether trial counsel’s failure to call Mr. Stewart constituted

deficient performanece, Petitioner was not prejudiced .

             c. Davinya Winchester

         According to Petitioner, Davinya Winchester would testify that there was “a love

triangle between Petitioner, Pearson, and a woman Pearson was in love with, which is the

real/true motivation behind Pearson’s lying against Petitioner.” Mem. Supp. Am. Mot.

Vacate at 3. According to Petitioner, Ms. Winchester would testify that Peason told Ms.

Winchester that Pearson was going “to do his best to make sure Petitioner never gets around

‘his girl’ again.” Mem. Supp. Am. Mot. Vacate at 3.

         Pearson himself originally made a statement to investigators regarding a disagreement

he and Byers had over a girlfriend. However, during his trial testimony, Pearson stated that

he had fabricated that claim in order to deflect attention from himself. See Apr. 26, 2009 Tr.

at 192: 8-24.       Petitioner’s trial counsel questioned Pearson about his relationship with

Davinya Winchester and played recordings of Pearson suggesting that Pearson wanted

Petitioner to remain locked up.17 See Mar. 30, 2009 Tr. at 33:4 – 36:10.

         Petitioner’s bald assertions regarding the purported testimony of Ms. Winchester are

insufficient for Petitioner to obtain relief. Petitioner had the benefit of this information at

trial, and his counsel exploited it on cross-examination. Petitioner has not explained how


17 Although Petitioner never so expressly states, Davinya Winchester appears to be the third member of

Petitioner’s alleged love triangle.
      Case 1:08-cr-00056-RDB             Document 464          Filed 09/16/15       Page 26 of 48


Ms. Winchester’s testimony would have allowed for further impeachment of Pearson. As

such, Petitioner has failed to show that he was prejudiced by counsel’s purported failure.

            d. Steven Thompson & Michael Randle18

        Petitioner asserts that Steven Thompson and Michael Randle would testify that

Pearson had wanted to “get rid of” Petitioner “by killing him, planting a gun on him, getting

him ‘locked up,’ etc.” Mem. Supp. Am. Mot. Vacate at 4. Petitioner’s assertions aside, there

was no prejudice to Petitioner’s defense with respect to these witnesses. Trial counsel cross-

examined Pearson at length regarding his prior inconsistent statements to investigators. In

particular, trial counsel pointed out that Pearson’s plea agreement was premised upon his

cooperation, and trial counsel further established that Pearson had attempted to stick the

blame for the murder on others in order to clear himself. See, e.g., Mar. 30, 2009 Tr. at 14:21-

23. Trial counsel also established that Pearson had named Byers in another murder. Mar.

30, 2009 Tr. at 28:18 – 31:7. Finally, as noted above, trial counsel played recordings in which

Pearson had suggested that he wanted Petitioner to remain incarcerated. See Mar. 30, 2009

Tr. at 33:4 – 36:10. Petitioner has not explained how the testimony of Thompson and

Randle might have furthered his efforts to impeach and discredit Pearson’s testimony. Even

if their testimony would have contributed to his defense in that respect, it would have done

nothing to undermine the Government’s presentation of the corroborating testimony of

Cornish and Graham. Accordingly, there is no conceivable way that this evidence could

undermine confidence in the outcome of Petitioner’s trial.                    Petitioner has failed to

demonstrate prejudice.

18 Thompson and Randle were co-Defendants in the case against Petitioner and pled guilty to the charge of

Aiding and Abetting the Use and Discharge of a Firearm during and in relation to a Crime of Violence,
Causing Death by Murder pursuant to 18 U.S.C. § 924(c).
      Case 1:08-cr-00056-RDB                 Document 464    Filed 09/16/15      Page 27 of 48


            e. Jamar Saunders

        According to Petitioner, Jamar Saunders would testify that the second jail cell phone

that was recovered in “Supermax” was actually his and that federal investigators pressured

him to “to lie and say the phone was Petitioner’s.” Mem. Supp. Am. Mot. Vacate at 4. Even

if the phone was not Petitioner’s—a claim that is dubious considering the fact that the

phone was recovered in Petitioner’s bed—the fact of Saunders’ alleged ownership would

have had little effect at Petitioner’s trial.19 The phone records from the second jail cell

phone showed repeated contacts with Petitioner’s family and associates. For example,

Ebony Green testified at trial that she had contact with Petitioner on the second jail cell

phone. See Apr. 1, 2009 Tr. at 110:17-19. More importantly, the evidence at trial established

that Petitioner used the phone to contact Joseph Parham, who had originally identified Byers

as the Haynes shooter but subsequently recanted. See Apr. 8, 2009 Tr. at 172:23 – 176:4.

Thus, even if Saunders testified as Petitioner claims he would, that testimony would not

negate the operative fact that Petitioner used a contraband cell phone to contact Parham.

        B. Issue Two – News Broadcast Footage

        Petitioner alleges that his trial counsel failed to secure local television news broadcasts

as Petitioner had instructed. Petitioner asserts that those recordings would have shown that

Pearson’s testimony “was ‘word for word’ what he saw/heard on the news broadcasts.”

Mem. Supp. Am. Mot. Vacate at 5. Petitioner goes on to note that he “has private

investigators retrieving this news footage for any future hearing.” Id.




19 In fact, the testimony of Ms. Ebony Green established that the phone sometimes changed hands among

the inmates. Apr. 1, 2009 Tr. at 111:5-13.
      Case 1:08-cr-00056-RDB               Document 464           Filed 09/16/15         Page 28 of 48


        While Petitioner baldly asserts that Pearson’s testimony mirrored the news broadcasts

“word for word,” he has failed to present any facts to support this contention. Pearson’s

testimony spanned two days of trial and he testified extensively about the Lackl murder and

his conversations with investigators during the ensuing investigation. As was made clear by

Pearson’s testimony on direct and through a lengthy cross-examination, Pearson’s

statements to investigators changed over time and were sometimes contradictory. Petitioner

never specifically identifies the testimony that he asserts was repeated based upon news

broadcasts, nor does he identify those broadcasts that Pearson allegedly relied upon.20 This

failure is basis enough for denying Petitioner’s motion on this issue, as it is Petitioner’s

burden to present evidence supporting his claim.

        Even if Petitioner had included those specifics, his claim would still fail because he

has failed to demonstrate prejudice to his case. As was made clear by his testimony, Mr.

Pearson’s account of what occurred on the day of the Lackl murder changed significantly

over time as investigators gathered more information and focused in on his involvement.

Petitioner’s counsel undertook a lengthy cross-examination of Pearson at trial and used these

prior inconsistent statements to impeach his testimony. The clear purpose of much of

Petitioner’s counsel’s cross-examination was to create the perception that Pearson’s

statements to investigators were fabricated and that Pearson had simply gone along with the

story that investigators believed was true. In support of this theory, Petitioner’s counsel did

establish that some of the information Pearson initially disclosed to investigators before he

20 Over two and a half years have passed since Petitioner originally filed his Amended Motion to Vacate, and

Petitioner has also made numerous other filings in that period. Nevertheless, despite Petitioner’s assertion
that he had private investigators collecting news footage, Petitioner still has not submitted any materials
(video clips, recordings, transcripts, or otherwise) to support his contentions about the similarity of Pearson’s
testimony to news broadcasts.
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 29 of 48


was arrested had been recounted from news broadcasts about the murder. See Mar. 30, 2009

Tr. at 12:14-24.       Thus, the basis of Pearson’s knowledge—and his reliance on news

broadcasts—was an issue that was presented to the jury.                     However, the jury’s verdict

suggests that jurors found Pearson’s trial testimony, corroborated by additional evidence

linking Petitioner to the Lack murder, to be credible. Indeed, the facts to which Pearson

testified at trial, which Petitioner alleges were derived from a news broadcast, were

corroborated by the testimony of Cornish and Graham and supported by the phone records.

        C. Issue Three – Records Showing Petitioner’s Use of the Jail’s T-Netix Phone
           System

        Petitioner next argues that his trial counsel failed to investigate his usage of the T-

Netix jail phone system.           In Petitioner’s Amended Motion to Vacate, he specifically

references Counsel’s failure to obtain the telephone records of his grandmother, Ms. Edna

Booze. In Petitioner’s view, this alleged failure prevented Petitioner from rebutting Lisa

Hunter, the Government’s T-Netix witness, who testified that the records of the company

operating the jail’s phone system did not reflect any calls on Petitioner’s account between

April 10, 2006 and April 16, 2008. See Mar. 31, 2009 Tr. at 48:9 – 49:8, ECF No. 376.

        Even if this Court were to rule that Ms. Booze’s telephone records established that

Petitioner had used his T-Netix account during the period from April 10, 2006 to April 16,

2008,21 Petitioner has failed to establish that he was prejudiced by counsel’s failure to

establish this fact at trial. The fact that Petitioner did not use the jail’s phone system was a

relatively minor point at trial, supporting the Government’s case that he had used a

21
  Although the phone records appear to reflect collect calls to Ms. Booze from the T-Netix system, they do
not identify Petitioner as the caller. Even if the calls originated from Petitioner (which both this Court and
the Government recognize as likely), the records do not include Petitioner’s IPIN number. Accordingly, the
records do not directly refute Ms. Hunter’s testimony.
     Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15      Page 30 of 48


contraband cell phone. The records attached to Petitioner’s motion, however, do nothing to

counter Petitioner’s clear connection to the jail cell phone as proven by the jail cell phone’s

call records and the testimony of Petitioner’s friends and family. As such, there is no way

that those records would have changed the outcome of Petitioner’s trial, and Petitioner

therefore suffered no prejudice from counsel’s supposed failure to obtain the records and

introduce them into evidence.

       D. Issues Four & Five – Failure to Call Witnesses

       Petitioner’s fourth and fifth claims pertain to witnesses that Petitioner’s trial counsel

allegedly failed to either call or interview who would have provided exculpatory information

regarding the Haynes murder and Coleman shooting. Petitioner asserts that he was not the

shooter in either incident and that his counsel’s failure to interview these individuals

deprived the jury of evidence that could have “created doubt, and greatly increased the

probability of a different outcome.” Mem. Supp. Am. Mot. Vacate at 7-8. Additionally,

Petitioner identifies a number of witnesses whose testimony would have contradicted the

testimony of Detective Jenkins. This Court now discusses each of those individuals in turn.

              a. Witnesses Related to the Haynes Murder

       As noted above, evidence that Petitioner murdered Haynes was offered by the

Government to show Petitioner’s motive in ordering the Lackl murder. However, Petitioner

contends that he was “nowhere near the location of Mr. Haynes when he was murdered.”

Mem. Supp. Am. Mot. Vacate at 7.
     Case 1:08-cr-00056-RDB          Document 464       Filed 09/16/15    Page 31 of 48


                       i. Darrell Briggs

         Byers asserts that he was at a car wash with his girlfriend at the time of the Haynes

murder, and that his phone records from the day of the murder would have supported that

alibi. Am. Mot. Vacate at 9, ECF No. 424. In his Amended Motion to Vacate, he states that

he received a call from Darrell Briggs shortly after the Haynes murder. Id. In his supporting

memorandum, Petitioner characterizes Darrell Briggs as “an actual witness to the Haynes

murder” who would testify that Petitioner was not Haynes’ killer. Mem. Supp. Am. Mot.

Vacate at 8. According to Petitioner, Briggs would also testify that Haynes told him an

individual by the name of Quinten Hogan wanted him dead and was going to try to kill him.

Petitioner submitted a purported affidavit from Mr. Briggs stating that he has “information

that would have proven Patrick Byers[’] innocence” and that he attempted to contact

Petitioner’s trial counsel repeatedly before trial, but was rebuffed. See Briggs Aff., ECF No.

431-1.

         Despite Petitioner’s representations in his motion, Mr. Briggs was in fact called

during his trial as a defense witness. See Apr. 13, 2009 Tr. at 226-48, ECF No. 387. During

trial counsel’s direct examination, Mr. Briggs identified Mr. Hogan from a photograph and

testified that Mr. Hogan had been killed in August of 2008.

         In his motion, Petitioner neither recognizes the testimony that Mr. Briggs did provide

at trial nor explains the inconsistencies between his current assertions and Mr. Briggs’ trial

testimony. In particular, Mr. Briggs testified that he met with trial counsel at least once

before he testified and had also met with trial counsel’s investigator at an earlier time. See

Apr. 13, 2009 Tr. at 227:25-228:14. Moreover, the purported affidavit of Mr. Briggs does
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 32 of 48


not establish any of the facts alleged by Petitioner in his Motion or Supporting

Memorandum. Accordingly, Petitioner has failed to establish the factual predicate for a

finding that his counsel’s performance was deficient with respect to calling Mr. Briggs.

                         ii. Dorsey Ebbs22

          According to Petitioner, Dorsey Ebbs will testify that he was “present at the Haynes

murder,” that Petitioner was not the shooter, and that Petitioner was not “anywhere near the

location of the Haynes murder.” Mem. Supp. Am. Mot. Vacate at 9. Mr. Ebbs did not

testify at Petitioner’s trial, but statements by Mr. Ebbs were discussed during the testimony

of Detective Martin, the lead investigator on the case. When he was initially interviewed by

police, Mr. Ebbs’ description of the shooter did not precisely match Petitioner’s build. Mr.

Ebbs also stated that the shooter had run in a different direction than that reported by

several other witnesses, including Lackl.              During trial counsel’s cross-examination of

Detective Martin, trial counsel questioned Detective Martin about his failure to individually

interview Mr. Ebbs. Mr. Ebbs originally provided a statement to police, but Detective

Martin never individually interviewed him. Apr. 6, 2009 Tr. at 203:5-19, ECF No. 379.

When Detective Martin attempted to follow up, he was unable to locate Mr. Ebbs. Id.

          As presented here, Petitioner has failed to state a viable claim for relief with respect

to Mr. Ebbs’ testimony. As a preliminary matter, the record suggests that Mr. Ebbs could

not be located and, as such, trial counsel cannot be faulted for failing to interview or call Mr.

Ebbs. Moreover, even if trial counsel could have located and called Mr. Ebbs, Petitioner




22 Petitioner’s Motion spells Mr. Dorsey Ebbs’ last name “Ebbs”; the trial transcript, however, spells his name

“Epps.”
      Case 1:08-cr-00056-RDB               Document 464           Filed 09/16/15        Page 33 of 48


was not prejudiced in this matter. Petitioner’s trial counsel effectively employed Mr. Ebbs’

statement to impeach the testimony of Detective Martin and to discredit his investigation.

                          iii. Wilton Hunt

        Petitioner asserts that Wilton Hunt would testify to standing “in a store five feet away

from the actual murder” and that Petitioner was not the shooter. Mem. Supp. Am. Mot.

Vacate at 9. Like Mr. Ebbs, Mr. Hunt did not testify at trial. Mr. Hunt, however, was with

Ms. Cheryl Rookstool at the time of the Haynes murder, and Ms. Rookstool’s testimony was

relayed at trial. At trial, Ms. Rookstool stated that she did not believe that Petitioner was the

shooter. Apr. 13, 2009 Tr. at 28:4-5.

        Petitioner’s motion does not identify any special reason why Mr. Hunt’s testimony

was necessary for his defense. Based upon the representations in his motion, his testimony

would have been very similar to that of Ms. Rookstool. As such, Mr. Hunt’s testimony

would have been repetitive and duplicative, and there was no need to call Mr. Hunt directly.

Moreover, as trial counsel explained in his affidavit, there was some concern that Hunt’s

testimony could contradict certain aspects of Rookstool’s testimony.23 Trial Counsel’s Aff.

at 4. Accordingly, Petitioner has failed to establish that trial counsel erred in his strategic

decision not to call Mr. Hunt as a defense witness.




23 Trial counsel’s concern was all the more reasonable considering that he believed both witnesses were

somewhat “intellectually impaired.” Trial Counsel’s Aff. at 4. Indeed, Ms. Rookstool admitted to being a
user of crack cocaine at the time of the murder, but she testified that she had not taken any at the time of the
murder. Apr. 13, 2009 Tr. at 19:1-20, ECF No. 387. Later, Rookstool testified that she had a history of
epilepsy and had damage to a muscle behind her left eye and some brain damage due to a case of spinal
meningitis when she was young. See Apr. 13, 2009 Tr. at 16-23.
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 34 of 48


                         iv. Tiurra Pollard24

        Byers asserts that Tiurra Pollard would testify to a conversation between Byers,

Goodman, and other individuals.                 He asserts that Ms. Pollard’s testimony would

demonstrate that he did not think Haynes had killed his cousin and that he suspected other

individuals. Mem. Supp. Am. Mot. Vacate at 9. Accordingly, Petitioner asserts that Ms.

Pollard’s testimony could have “established the doubt necessary for the jury to come to a

different verdict.” Id.

        Ms. Pollard was in fact called as a witness in this case by the Government, and she

testified that she was in contact with Petitioner via the jail cell phone while he was detained

in the Baltimore City Jail. See Apr. 1, 2009 Tr. at 91-92. She made no mention of the

matters referenced in Petitioner’s Motion.

                         v. Shanise James

        Byers asserts that Ms. Shanise James was with him at a nearby carwash when Haynes

was murdered and overheard the alleged telephone conversation between him and Mr.

Briggs warning him that Haynes had been murdered. Mem. Supp. Am. Mot. Vacate at 9.

However, Petitioner has failed to establish that trial counsel was in any way deficient with

respect to the purported failure to call Ms. James.




24 The exact spelling of Ms. Pollard’s first name is somewhat unclear.The trial transcript spells her first name
“Tiurra” based upon the Government’s spelling before she was called. See Apr. 1, 2009 Tr. 71:8-20, ECF No.
377. In his papers, Petitioner spells her name “Tair,” while the Government’s opposition spells it “Tierra.”
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 35 of 48


        Petitioner has not asserted that trial counsel was aware of Ms. James nor that trial

counsel was aware of any information regarding a potential alibi.25 Thus, Petitioner has

failed to establish facts that would support a finding of ineffective assistance. See United

States v. Roane, 378 F.3d 382, 401 (4th Cir. 2004) (conclusory allegations regarding knowledge,

without more, insufficient to warrant evidentiary hearing); see also id. at 407.

        Moreover, even if Petitioner was able to establish deficient performance with respect

to the failure to call Ms. James, Petitioner has not demonstrated any prejudice by such

failure. Detective Martin testified that Petitioner told him the same alibi with respect to the

carwash after Petitioner was arrested. Thus, Petitioner’s asserted alibi was presented to, and

rejected by, the jury. Nor was any additional evidence regarding this alibi likely to have

swayed the outcome of Petitioner’s trial. Despite trial counsel’s efforts to present evidence

calling into doubt Lackl’s identification, the facts remained that two witnesses quickly

identified Petitioner as the Haynes shooter. Although Parham eventually recanted, the

evidence regarding Petitioner’s calls to Parham was incredibly damaging. With respect to

Petitioner’s convictions for the Lackl murder, the likelihood of prejudice is even more

minute. Regardless of whether Petitioner killed Haynes, the motive for the killing remains.

Additional evidence that Petitioner was not the shooter would not have undermined the

overwhelming evidence, including direct testimony and phone records, identifying Petitioner

as the individual who ordered the Lackl murder.




25 Indeed, trial counsel’s affidavit confirms that trial counsel had no knowledge of Ms. James: “To the best of

my recollection, if Ms. James was available, my investigator or I would have interviewed her. If Ms. James
was an alibi witness, I am also sure that Byers[‘] state court counsel, Ivan Bates, would have known of her
existence and named her as an alibi in the state court case.” Trial Counsel’s Aff. at 4.
     Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15     Page 36 of 48


                      vi. Kevin Cade

       Petitioner asserts that Mr. Kevin Cade is Haynes’ younger brother and would testify

that “it is well known that Petitioner did not kill Haynes, nor did he have any connection to

the murder.” Mem. Supp. Am. Mot. Vacate at 10. Petitioner has failed to establish the

requisite facts to support a claim that trial counsel’s performance was deficient by failing to

call Mr. Cade. Petitioner’s summary of Cade’s purported testimony is conclusory and

unsupported by an affidavit or other evidence. Nor has Petitioner alleged that trial counsel

knew about Cade or explained why counsel should have discovered that Cade had

information about the Haynes murder. Moreover, Petitioner has failed to establish that Mr.

Cade has any admissible testimony to offer. Indeed, the basis of his testimony appears to be

rumor rather than personal knowledge. Accordingly, there is no evidence that trial counsel

erred in not calling Mr. Cade as a witness.

              b. Witnesses Related to the Coleman Shooting

       Byers also contends that his trial counsel provided ineffective assistance by failing to

call several witnesses who would have testified that he did not shoot Coleman. Mem. Supp.

Am. Mot. Vacate at 11. While Petitioner’s claims with respect to these witnesses are

addressed more fully below, this Court first notes that it is effectively impossible for

Petitioner to demonstrate any prejudice arising from evidence pertaining to the Coleman

shooting. Evidence of the Coleman shooting was offered under Rule 404(b). Thus, the

evidence as to the Coleman shooting is distinct from the substantive evidence supporting the

charges against Petitioner for the Lackl and Haynes murders.
      Case 1:08-cr-00056-RDB               Document 464           Filed 09/16/15        Page 37 of 48


        Moreover, the United States Court of Appeals for the Fourth Circuit has already

addressed the limited effect that the Coleman evidence had on Petitioner’s trial. In assessing

whether the evidence related to the Coleman shooting was properly admitted under Rule

404(b), the Fourth Circuit found that the evidence was not unfairly prejudicial to

Petitioner.26 See Byers, 649 F.3d at 210. In particular, the court noted that this Court had

issued two limiting instructions explaining that the Coleman evidence could not substitute

for evidence of the conduct charged in the indictment. See id. Additionally, the Fourth

Circuit found that, even if the Coleman shooting evidence had been admitted improperly, its

admission constituted harmless error.27 Id. at 211. As explained by the court:

                 The government introduced overwhelming evidence of Byers’
                 guilt in planning and executing the murder of Lackl. In addition
                 to direct testimony from Pearson that Byers ordered and paid
                 for the hit on Lackl and the confession of the actual killer, the
                 government presented substantial evidence establishing
                 telephonic communication between Cornish the triggerman,
                 Pearson, Goodman, and Byers on the day of the murder. The
                 evidence also established an obvious motive for Byers to kill
                 Lackl—the elimination of the sole remaining witness against
                 him on state murder charges. In view of the strong evidence
                 suggesting that Byers planned the murder-for-hire against Lackl,
                 we can say with “fair assurance” that the evidence of Coleman’s
                 non-fatal shooting was harmless. Id.

        While this Court recognizes that the Fourth Circuit’s review of the issue arose in a

different procedural context, the mountain of evidence against Petitioner remains




26 Evidence admitted under Rule 404(b) must also satisfy the standard of Rule 403, which requires that the

probative value of evidence not be substantially outweighed by the danger of unfair prejudice. Thus, the
Fourth Circuit’s prejudice determination was within the context of a Rule 403 assessment.
27 Under the harmless-error standard, a district court’s evidentiary ruling will be upheld unless the appellate

court determines, “with fair assurance, after pondering all that happened without stripping the erroneous
action from the whole, that the judgment was not substantially swayed by the error.” Byers, 649 F.3d 197, at
211.
      Case 1:08-cr-00056-RDB               Document 464           Filed 09/16/15         Page 38 of 48


unchanged. As such, Petitioner is unable to demonstrate any prejudice for purposes of

Strickland with respect to the Coleman shooting.

                          i. Beverly Gibson

        According to Petitioner, Beverly Gibson would testify that she was present at the

Coleman shooting and “that Petitioner was not there and . . . was not the shooter.” Mem.

Supp. Am. Mot. Vacate at 11. Petitioner has not, however, established any facts to suggest

that trial counsel knew about or should have known about Ms. Gibson or that she had

information about the Coleman shooting.                   This Court further notes that Petitioner’s

conclusory allegations are all the more fanciful in light of the unrebutted evidence that

Coleman was shot inside his house with only the shooter and one other individual present.

See Byers, 649 F.3d at 201.

                          ii. Edna Booze

        Petitioner asserts that Edna Booze, Petitioner’s grandmother, would testify that she

was with Petitioner in a Baltimore court “at the date and time of the Coleman shooting.”

Mem. Supp. Am. Mot. Vacate at 11. However, this same alibi was presented to the jury

through the testimony of Vonda Cole and court records from the Baltimore City District

Court. Accordingly, calling Ms. Booze to establish this point was unnecessary because the

testimony she would have provided would have been duplicative.28




28 In his affidavit, trial counsel stated that he was concerned about protecting Ms. Booze’s credibility for the

sentencing phase of Petitioner’s trial.
      Case 1:08-cr-00056-RDB             Document 464          Filed 09/16/15          Page 39 of 48


                        iii. Robert Little

        Petitioner contends that Robert Little was a witness to the Coleman shooting and

would testify that Petitioner was not the shooter. According to Petitioner, Little would

testify that Little’s brother (Clinton Little) got into a physical altercation with Coleman and

that a man named Terrence Whitworth found Coleman and beat him with a broomstick

before Troy Wilson (who is now dead) shot Coleman.29 Mem. Supp. Am. Mot. Vacate at

11. Additionally, Petitioner has submitted a purported affidavit of Little stating that he has

“information that would have proven Patrick Byers[’] innocence,” but was rebuffed by

Petitioner’s trial counsel. Little Aff., ECF No. 431-1.

        At trial, Petitioner stated that Little was one witness that he wanted to subpoena to

testify but whom his lawyers had not called. Apr. 14, 2009 Tr. at 304:2-10. However, when

the Court asked counsel about Mr. Little, counsel explained that they had been unable to

locate Mr. Little. Apr. 14, 2009 Tr. at 304:16-25. When asked by the Court, Petitioner

indicated that he understood that his lawyers had attempted to find Mr. Little but had been

unsuccessful. Id. at 305:7-11. As such, Petitioner’s conclusory allegations regarding Little’s

testimony—coupled with the fact that Petitioner has once again failed to explain any

personal knowledge basis for the purported testimony—cannot be taken to assert a

potentially meritorious claim.

                c. Witnesses to Impeach Detective Wayne Jenkins’ Testimony

        In his Memorandum Supporting his Amended Motion to Vacate, Petitioner also

identifies several witnesses that he claims would provide evidence to impeach Detective


29 Petitioner suggests that Terrence Whitworth would also testify that Troy Wilson was the person who shot

Coleman. Petitioner does not identify any basis for Whitworth’s proffered testimony.
      Case 1:08-cr-00056-RDB               Document 464          Filed 09/16/15         Page 40 of 48


Wayne Jenkins, a detective for the Baltimore City Police Department in the Violent Crime

Impact Division of the Narcotics Unit.30 According to Petitioner, Mr. Renardo Robinson

would have testified that Detective Wayne Jenkins’ trial testimony was false and designed to

cover up the working relationship between Petitioner and Detective Jenkins by which

Petitioner would provide tips to Detective Jenkins in exchange for information on

informants and influence that would “make charges or investigations ‘go away.’” Mem.

Supp. Am. Mot. Vacate at 8. Additionally, Petitioner later submitted a purported affidavit

from Mr. Robinson which stated that Mr. Robinson had “information that would have

proven Patrick Byers[’] innocence.”31 Robinson Aff., ECF No. 431-1. Petitioner identifies

several other witnesses—specifically, Terrence Whitworth, Reginald McNeil, Robert Little,

Joey Fitzgerald, Toshiba Ross, and Nitra Conway—who he asserts would testify similarly.

        At Byers’ trial, Detective Jenkins testified that he knew Byers operated a drug shop

near the location where Haynes was murdered. Apr. 7, 2009 Tr. 115-16, ECF No. 380.

Detective Jenkins also stated that he had met with Petitioner approximately ten to fifteen

times so that Byers could provide information regarding other drugs dealers in the

neighborhood. Id. at 111. Detective Jenkins testified that he met with Petitioner on the day

of the Haynes murder after Petitioner had called him and told him that he had information

about a shooting. During that meeting, Detective Jenkins also noted several details that he

deemed suspicious, including the fact that Petitioner appeared more nervous than normal

and that this was the first time Petitioner had provided information regarding a violent


30 In 2006, however, Detective Jenkins was still a plainclothes officer working in unmarked cars.   See Apr. 7,
2009 Tr. 111:2-4.
31 The Court notes that Mr. Robinson’s purported affidavit is substantively identical to that of Mr. Briggs;

only the names differ.
      Case 1:08-cr-00056-RDB              Document 464           Filed 09/16/15        Page 41 of 48


crime. Id. at 122, 137. According to Detective Jenkins, Petitioner stated that a friend had

seen a tall, thick black man shoot Haynes and subsequently throw a handgun on the roof of

a nearby garage. Id. at 123.

        Regardless of whether Petitioner could state a cognizable ineffective assistance claim

with respect to these purported impeachment witnesses, Petitioner’s contention must be

rejected because he has failed to show any prejudice as a result of trial counsel’s alleged

failure to call these witnesses. Detective Jenkins expressly acknowledged that he had a

relationship with Petitioner.32 Moreover, his testimony had only tangential value in the

prosecution of Petitioner. As noted above, Detective Jenkins’ testimony related to the

aftermath of the Haynes shooting and Petitioner’s statements to him. Even if Petitioner had

succeeded in discrediting Detective Jenkins and the jury had wholly disregarded his

testimony, the evidence linking Petitioner to the jail cell phone—and, therefore, the Lackl

murder—would have been unaffected. Evidence of the Haynes murder was introduced for

the purpose of proving Petitioner’s motive. Since Lackl was one of the primary links

between Byers and the Haynes shooter and was expected to be a crucial witness in Byers’

state trial for the Haynes murder, Petitioner’s motive existed regardless of whether he in fact

committed the Haynes murder. Moreover, Detective Jenkins’ testimony was far from the

only evidence offered to link Petitioner to the Haynes murder. According to Detective

Martin, to whom Petitioner had also given a statement, Petitioner said that he was near the

32 According to Detective Jenkins, Petitioner refused to formalize the relationship or receive remuneration for

his information. See Apr. 7, 2009 Tr. at 119:5-14. Petitioner baldly asserts, however, that he was
compensated in other ways; specifically, he contends that Detective Jenkins would “make charges or
investigations ‘go away’” or provide information about “who informants were.” Mem. Supp. Am. Mot.
Vacate at 8. Of course, Petitioner has supplied no factual support for these contentions other than his
characterization of the supposed testimony of uncalled witnesses. Of course, testimony that Petitioner had
exchanged for information about informants would have been damaging to his defense in a witness murder
case
      Case 1:08-cr-00056-RDB                Document 464           Filed 09/16/15         Page 42 of 48


scene of the Haynes murder (close enough, in fact, to hear the shots). Petitioner also stated,

without any solicitation from Detective Martin, that he had hidden a gun near the spot

where Lackl claimed to have seen a fleeing suspect throw a gun. Apr. 6, 2009 Tr. at 52: 1-25.

        E. Issue Six – Appellate Counsel’s Refusal to Raise Ineffective Assistance of Counsel
           on Appeal and Failure to Challenge This Court’s Ruling Denying His Motion to
           Suppress

        Although Petitioner’s Amended Motion to Dismiss only identifies four grounds for

relief, his Memorandum in Support identifies several additional issues. The first of these—

identified by Petitioner as the sixth issue to be addressed by this Court33—is based upon his

appellate counsel’s refusal to raise the issue of ineffective assistance of counsel during his

appeal. Mem. Supp. Am. Mot. Vacate at 11-12. However, “[i]neffective assistance claims

are generally not cognizable on direct appeal ... ‘unless [an attorney's ineffectiveness]

conclusively appears from the record.’” United States v. Benton, 523 F.3d 424, 435 (4th Cir.

2008) (quoting United States v. Richardson, 195 F.3d 192, 198 (4th Cir. 1999)).

        Additionally, it appears that Petitioner seeks to raise a claim regarding the search of

his jail cell.34 Before trial, trial counsel filed a motion to suppress the tangible evidence

discovered in Petitioner’s cell—which included a note with Lackl’s name and address. See

Mot. Suppress, ECF No. 60. This Court held a two-day hearing and ultimately denied the

motion.      See Sept. 22, 2008 Order, ECF No. 124.                    After Petitioner’s conviction and

33 The Court has combined the fourth issue, which was alluded to in the Amended Motion, and the fifth,

dealing with the Coleman shooting and not expressly addressed in the Amended Motion although arguably
related because it also deals with investigation of alibi witnesses.
34 The Court notes that it is somewhat unclear whether Petitioner challenges the actions of his attorneys on

appeal or the actions of his trial counsel. While Petitioner states that “Petitioner’s counsel failed/refused to
communicate with Petitioner during the appellate process” at the beginning of this section of his
memorandum, he later states that his trial counsel “said he was ‘tired of Petitioner’s complaints and ceased
communication,’ effectively forfeiting Petitioner’s opportunity to ‘challenge the search’ of his jail cell, which
would’ve eliminated the prosecution’s angle that the phone . . . was Petitioner’s when it WAS NOT.” Mem.
Supp. Am. Mot. Vacate at 11-12.
         Case 1:08-cr-00056-RDB         Document 464          Filed 09/16/15       Page 43 of 48


sentencing, Petitioner noted an appeal to the United States Court of Appeals for the Fourth

Circuit. Subsequently, he notified the court that he wished to terminate trial counsel and was

seeking other representation. See Aug. 3, 2009 Letter, ECF No. 20, No. 09-4439 (4th Cir.

Aug. 14, 2009). In response, the Fourth Circuit issued a notice stating that Petitioner would

be required to file a formal motion requesting new counsel because trial counsel had been

court-appointed. See ECF No. 21.           The notice specifically stated that trial counsel “ha[d]

been working [Petitioner’s] appeal in a very professional manner” and that Petitioner’s

appeal was moving forward. Id. After new counsel was appointed and the briefing schedule

had been set, Petitioner submitted his opening brief, by counsel, raising several issues.35 See

ECF No. 87. This Court’s ruling as to the motion to suppress was not one of those. Id.

          Regardless of whether Petitioner’s claim is directed at his trial counsel or appellate

counsel, it is clear that there is no basis to grant Petitioner relief based upon his attorneys’

handling of the suppression issue. As noted above, trial counsel did, in fact, file a motion to

suppress the evidence recovered from Petitioner’s jail cell. That motion was properly denied

because the search was conducted pursuant to a warrant issued by a state court. Petitioner

fails to mention the warrant, let alone provide any reason why the warrant was defective.

Alternatively, regardless of the status of the law in other circuits, the law of this circuit clearly

indicates that a detainee has no “right of privacy from routine searches of [the detainee’s] jail

cell.” United States v. Jeffus, 22 F.3d 554, 559 (4th Cir. 1994). Thus, while trial counsel

appropriately filed the motion on behalf of Petitioner, the motion was properly denied. That




35 As Petitioner’s appeal was consolidated with Goodman’s case, Petitioner and Goodman submitted a joint

brief.
     Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15      Page 44 of 48


result would have been the same regardless of the quality of trial counsel’s advocacy.

Accordingly, there was no error by trial counsel and no prejudice to Petitioner.

       With respect to appellate counsel, it is equally clear that Petitioner has failed to make

a meritorious claim. Appellate counsel was “entitled to a presumption that [they] decided

which issues were more likely to afford relief on appeal.” Bell v. Jarvis, 236 F. 3d 149, 175

(4th Cir. 2000) (citing Strickland, 466 U.S. at 688). In order to overcome this presumption,

Petitioner must demonstrate that his attorneys’ decision not to pursue the issue fell below an

objective standard of reasonableness in light of the prevailing norms. Id. As noted above,

Petitioner’s motion was properly disposed of under existing law. Other than an alleged

circuit split, Petitioner has not identified any reason why the refusal to appeal this Court’s

suppression ruling was objectively unreasonable. Certainly, counsel were entitled to omit an

issue which had a very limited likelihood of success in order to focus the Court of Appeals’

attention on more pressing issues. Cf. Lawrence v. Branker, 517 F.3d 700, 709 (4th Cir. 2008)

(“Effective assistance of appellate counsel does not require the presentation of all issues on

appeal that may have merit, and we must accord counsel the presumption that he decided

which issues were most likely to afford relief on appeal. Generally, only when ignored issues

are clearly stronger than those presented, will the presumption of effective assistance of

counsel be overcome.” (internal quotation marks and citations omitted)). Petitioner has

provided no plausible basis for challenging the search, nor is there one existing under the

law. Accordingly, Petitioner’s claim must fail.
     Case 1:08-cr-00056-RDB         Document 464       Filed 09/16/15     Page 45 of 48


       G. Issue Seven – Government Intimidation of Witnesses

       In his seventh claim, Byers asserts that the government intimidated, threatened, or

attempted to coerce false testimony from Joseph Parham, Tair Pollard, Jason Torbit, Jamar

Saunders, Whitney Mears, Patrick A. Byers, Sr., and Kisha Newsom. Mem. Supp. Am. Mot.

Vacate at 12.    Several of these individuals—and Petitioner’s assertions regarding the

information as to which they would have testified—have been addressed above. Beyond

Petitioner’s bald assertions, he has identified no evidence to support his claims. Moreover,

even if Petitioner were to succeed in demonstrating actual attempts at coercion, he has failed

to show any prejudice caused by trial counsel’s purported failure to investigate such activity.

Jason Torbit, Jamar Saunders, and Whitney Mears did not testify at all at trial—let alone

testify against Petitioner. The only testimony provided by Tair Pollard, Patrick A. Byers, Sr.,

and Kisha Newsom was that they had had contact with Petitioner by means of the jail cell

phone—a fact that was readily corroborated by the telephone records.

       The only witness who provided any extensive testimony was Joseph Parham, who

actually recanted his earlier identification of Byers as the Haynes murderer and testified that

Byers was not the individual who shot Haynes. Parham’s testimony was, at least superficially,

exculpatory. As such, assuming Parham was pressured by the Government, Petitioner is

unable to demonstrate prejudice. The truly damaging aspect of Parham’s testimony was not

the content of his testimony. Instead, it was the Government’s use of Parham’s previous

identifications, coupled with the evidence from a second cell phone (and the corresponding

phone records) used by Petitioner to contact Parham and his family. It was not Parham’s
      Case 1:08-cr-00056-RDB               Document 464          Filed 09/16/15         Page 46 of 48


trial testimony that was prejudicial to Petitioner, but Petitioner’s own clear—and apparently

successful—intimidation of witnesses that was damaging to his defense.

          H. Issue 8 – Racial Bias in Death Penalty Prosecution

        Byers’ final argument is that, contrary to his instructions, trial counsel “forfeited

Petitioner’s rights to 14th Amendment protection under the constitution, re racial

discrimination . . . in relation to Death Penalty Prosecutions.” Mem. Supp. Am. Mot. Vacate

at 13. Petitioner attaches a report published by the American Civil Liberties Union stating

that African American criminal defendants have received death sentences at a much higher

rate than white defendants and alleges that his counsel failed to raise the issue. See ECF No.

424-10.

        This final claim must fail for two reasons. First, Petitioner’s counsel did in fact raise

“racial discrimination and disproportionality” as grounds for eliminating the death penalty as

an option in Petitioner’s case. See Mem. Supp. Mot. Bar Death Penalty, ECF No. 138-1, at

2-9. Additionally, Petitioner has failed to make a showing of prejudice as to this claim.

Although the Government sought the death penalty against Petitioner, the jury ultimately did

not find that the death penalty was appropriate. See Judg., ECF No. 340. Accordingly,

Petitioner’s final grounds for relief must fail, and Petitioner’s Motion to Vacate (ECF No.

412) is DENIED.36



36 Petitioner requests court-appointed counsel.    However, there exists no constitutional right to habeas
counsel. See United States v. Riley, 21 F. App’x 139, 142 (4th Cir. 2001). When a court chooses not to conduct
an evidentiary hearing in a habeas proceeding, it appoints counsel according to discretion when “the interests
of justice so require.” See 18 U.S.C.A. § 3006(A)(2)(a); see also Rule 8 of the Governing Rules of § 2255
Motions (requiring the court to appoint counsel for a § 2255 motion only if the court conducts an evidentiary
hearing.). The Court has reviewed Petitioner’s Motion and supporting Memorandum and the Government’s
opposition thereto and finds no hearing is necessary. See Local Rule 105.6 (D.Md.2011). Since there is no
need for an evidentiary hearing in this case, the interests of justice do not require Petitioner to have counsel
      Case 1:08-cr-00056-RDB               Document 464          Filed 09/16/15         Page 47 of 48


                                             CONCLUSION

        For the foregoing reasons, Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence (ECF No. 412) is DENIED. Petitioner’s Motions for Extension of Time to File

(ECF Nos. 436 & 437) are GRANTED EX POST FACTO. Petitioner’s Motion to Appoint

Counsel (ECF No. 437) is DENIED. Additionally, Petitioner’s Motions for Copy Work

(ECF Nos. 442 & 447) are MOOT with the exception that a copy of Petitioner’s docket

sheet shall be mailed to the Warden of his present place of confinement, so that access to

the criminal docket sheet can be made available to Petitioner in accordance with prison

policy and procedures. Petitioner’s Motion to Withdraw (ECF No. 458) his prior Motion to

Amend/Correct (ECF No. 453) is GRANTED. Petitioner’s Motion to Amend/Correct

(ECF No. 453) is WITHDRAWN. Consequently, the Government’s Motion to Dismiss

(ECF No. 455) the now withdrawn Motion to Amend/Correct (ECF No. 453) is MOOT.

Finally, Petitioner’s Motion for Deficient Service (ECF No. 460) is DENIED, Petitioner’s

Motion Objecting to Trial Counsel’s Disclosures (ECF No. 461) is also DENIED, and

Petitioner’s Motion to Compel (ECF No. 462) is MOOT.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. § 2255,

the court is required to issue or deny a certificate of appealability when it enters a final order

adverse to the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an

appeal from the court’s earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir.

2007). A certificate of appealability may issue “only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court


for ruling on this motion. As such, this Court will not appoint counsel to represent Petitioner in his § 2255
motion, and the Petitioner’s Motion to Appoint Counsel (ECF No. 437) is DENIED.
     Case 1:08-cr-00056-RDB          Document 464     Filed 09/16/15    Page 48 of 48


denies a petitioner’s motion on its merits, a petitioner satisfies this standard by

demonstrating that reasonable jurists would find the court’s assessment of the constitutional

claims debatable or wrong. See Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000). Because reasonable jurists would not find Petitioner’s

claims debatable, a certificate of appealability is DENIED.

         A separate Order follows.

Dated:         September 16, 2015
                                                           /s/                        _
                                                  Richard D. Bennett
                                                  United States District Judge
